                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION (DETROIT)

In re:

HEITMANN, Brandon L.,                                  Chapter 7
                                                       Case No. 24-41956-mar
             Debtors.                                  Hon. Mark A. Randon
                                        /

               NOTICE OF OPPORTUNITY TO OBJECT TO
                TRUSTEE’S MOTION FOR APPROVAL OF
                   SALE OF PERSONAL PROPERTY

       Douglas S. Ellmann, Chapter 7 Trustee (the “Trustee”), has filed a motion
for approval of a sale by him of the non-exempt value in certain tangible personal
property of the Debtor (the “Assets”) for the sum of $22,500.00. The Assets
include the following: 2019 GMC 2500; 2020 GMC 4500 dump truck; 20-foot
enclosed Look trailer; 1995 Econoline van; Toro Dingo 1000; 1995 box truck;
various household goods and furnishings; various equipment for sports and
hobbies; two firearms; clothes; PS4 and video games; personal computer;
refrigerator and contents; machinery, tools and equipment including a shipping
container and equipment trailer. The 2019 truck is subject to a vehicle loan, and
Assets are being sold to the Debtor’s wife subject to the Debtor’s exemptions.
Further details regarding the sale are set forth in the Motion, which is on file with
the Court and may be viewed by any person. A copy of the Motion will be
furnished upon request by contacting the undersigned.

      Your rights may be affected. You should read these papers carefully
and discuss them with your attorney, if you have one in this bankruptcy case.
(If you do not have an attorney, you may wish to consult one.)

      If you do not want the Court to grant the relief sought in the Motion, or if
you want the Court to consider your views on the Motion, then within twenty-one
(21) days of the date of service by the Trustee of this notice by email (twenty-four
(24) days including the extra time allowed by Fed.R.Bankr.P. 9006 if this notice
was served by U.S. Mail), you or your attorney must:




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                  1.     File with the court a written response explaining your position
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        at:

                               United States Bankruptcy Court
                               211 West Fort Street
                               Detroit, MI 48226

      If you mail your response to the Court for filing, you must mail it early
enough so the Court will receive it on or before the 21-day or 24-day period
expires. All attorneys are required to file pleadings electronically.

                         You must also mail a copy to:

                               Thomas R. Morris, Esq.
                               Morris & Morris Attorneys, P.L.L.C.
                               3258 Broad Street, Suite 1
                               Dexter, MI 48130

              2.     If a response is timely filed and served, the clerk will schedule a
        hearing on the Motion and you will be served with a notice of the date, time
        and location of the hearing.

      If you or your attorney do not take these steps, the court may decide that
you do not oppose the relief sought in the Motion and may enter an order
granting that relief.
                                     MORRIS & MORRIS
                                     ATTORNEYS, P.L.L.C.

                                             By:   /s/ Thomas R. Morris
                                                   Thomas R. Morris (P39141)
                                                   David R. Morris (P83922)
                                             Counsel for the Trustee
                                             3258 Broad St., Suite 1
                                             Dexter, MI 48130
                                             (734) 934-0035
                                             tmorris@morrispllc.com




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    Response or answer must comply with Fed.R.Civ.P. 8(b), (c) and (e).

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